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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

RICKY ASHLEY                                                                            PLAINTIFF
ADC #099718C

v.                                Case No. 4:20-cv-00864-KGB

SONIA SOTOMAYOR, United                                                             DEFENDANTS
States Supreme Court Justice, et al.

                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Ricky Ashley’s complaint is dismissed without prejudice. The relief sought is denied. The Court

certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from the Order

and Judgment dismissing this action is considered frivolous and not in good faith.

       So adjudged this 21st day of October, 2020.



                                                            ___________________________
                                                            Kristine G. Baker
                                                             United States District Judge
